EXHIBIT D
8/7/2020                                                 Twitter Hacker Is a BitMEX Trader, On-Chain Data Suggests - CoinDesk



                                             Story from Tech

                                             Twitter Hacker Is a BitMEX
                                             Trader, On-Chain Data Suggests
                                             Jul 16, 2020 at 17:38 UTC
                                             Updated Jul 17, 2020 at 16:47 UTC




                                             (CoinDesk Research)



                                                                     William Foxley




                                                       None of the roughly 13 bitcoin
                                                       (BTC) acquired through
                                                       Wednesday’s Twitter hack have
                                                       been laundered, according to
                                                       chain analysis conducted by
                                                       Samourai Wallet.

                                                       But whoever it was is deep into the
                                                       cryptocurrency space, with the BitMEX
                                                       receipts to prove it, according to preliminary
                                                       analysis from Samourai Wallet’s research arm,



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                                                       OXT Research. (A pastebin can be found
                                                       here.)

                                                       “Confirmed, no signs of mixing. Majority of
                                                       funds spent 1 or two hops and [are] now
                                                       parked,” Samourai said in a Twitter DM to
                                                       CoinDesk. “Really curious what their cash-out
                                                       plan is.”




                                                       Address histories can be matched against
                                                       known wallets to paint a user's transaction
                                                       history. The OXT bookmark with further
                                                       information can be found here:
                                                       https://oxt.me/BOOKMARK/5F1085FEE5C16
                                                       53AB4A0A44C
                                                       Source: Samourai Wallet

                                                       As of 14:00 UTC, the funds in at least one
                                                       address are already under the control of
                                                       Coinbase, Samourai added.

                                                       Read more: Full coverage of Twitter Hack
                                                       2020

                                                       “Based on the history of the first destination
                                                       address of the cryptoforhealth scam
                                                       addresses, the scammers have a history of
                                                       gambling on Bitmex and Coinbase usage,”
                                                       Samourai researcher Ergo said in a Tweet.

                                                       “This is peak crypto,” Ergo added.


                                                       No coin-mixing
                                                       involvement (yet)
                                                       Overall, Samourai says the hacker only used
                                                       three Bitcoin addresses and has not sent any
                                                       funds through a mixing service, as data
                                                       provider CryptoQuant had previously tweeted.


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                                                       (CryptoQuant has since told CoinDesk it no
                                                       longer believes the funds have been mixed.)

                                                       “Always a possibility the address is an
                                                       unlabeled mixer, but I don’t see any hints, and
                                                       one-time use addresses are very common in
                                                       general and not a definitive pattern for mixers,”
                                                       Ergo told CoinDesk.

                                                       Those addresses, however, linked to other
                                                       addresses that Samourai tracked to the
                                                       popular crypto derivatives platform BitMEX.

                                                       “Everything from the first address is being
                                                       spent to this address
                                                       1Ai52Uw6usjhpcDrwSmkUvjuqLpcznUuyF,
                                                       which looks to have been first funded via
                                                       BitMex,” Samourai said.

                                                       Read more: Samourai Wallet Releases
                                                       Privacy-Enhancing CoinJoin Feature


                                                       Tracking the Twitter hack
                                                       funds through Bitcoin
                                                       exchanges
                                                       On-chain data allows services to track where
                                                       funds are moving. In this case, the address
                                                       had previously been used by a BitMEX trader
                                                       for moving funds on and o the platform.
                                                       However, BitMEX has less stringent ID
                                                       policies, also known as Know Your Customer
                                                       (KYC), for trading on its domain. So BitMEX
                                                       may not be so helpful in finding the
                                                       perpetrator.

                                                       BitMEX did not return requests for comment
                                                       by press time.




                                                       Blockchain transactions leave a web of
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                                                       Blockchain transactions leave a web of
                                                       information as they move from address to
                                                       address.
                                                       Source: OXT Research/Samourai

                                                       “At best investigators can subpoena any
                                                       relevant account info including IP addresses[;]
                                                       from there, they can glean some additional
                                                       info from on-chain data including source of
                                                       funds,” Ergo said in a private message.

                                                       Coinbase, on the other hand, has very strict
                                                       KYC policies. Ergo said the best chance of
                                                       identifying the hacker comes from Coinbase.

                                                       “OXT Reasearch has also noted a small spend
                                                       of scammed coins to Binance. Other than the
                                                       history of
                                                       1Ai52Uw6usjhpcDrwSmkUvjuqLpcznUuyF,
                                                       the links to exchanges and known entities
                                                       remain minimal,” Ergo said.




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